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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MARYLAND
                                 (Northern Division)

In re                                          *

G. WARE TRAVELSTEAD                            *       Case No. 96-54979-DWK
                                                       (Chapter 11)
         Debtor.                               *

*        *       *      *     *        *       *

EXTRA SPACE MANAGEMENT, INC., *

                        Movant,                *

v.                                             *

G. WARE TRAVELSTEAD              *
and
JOEL I. SHER, LIQUIDATING AGENT, *

                        Respondents.           *

*        *       *      *     *        *       *       *      *      *      *     *

             ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY
                  (Storage Space and Personal Property Located Therein
               at 1699 Baltimore Annapolis Boulevard, Arnold, Maryland)

         UPON CONSIDERATION OF the Motion For Relief From Automatic Stay (the

“Motion”), filed by Extra Space Management, Inc. (“Movant”), and it appearing that




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cause exists under 11 U.S.C. § 362(d)(1) to grant the relief requested; it is, by the United

States Bankruptcy Court for the District of Maryland,

          ORDERED, that within 10 days of this Order, Joel I. Sher, Liquidating Agent,

shall remove all personal property from Units 16, 352 and 59 (the “Units”) at the storage

facility located at 1699 Baltimore Annapolis Boulevard, Arnold, Maryland; and it is

further

          ORDERED, that the automatic stay imposed by 11 U.S.C. § 362 be and hereby is

LIFTED, and Movant granted relief from same, to permit Movant to exercise all rights

and remedies available under the Contracts (as that term is defined in the Motion) and

applicable non-bankruptcy law, including its right to terminate the Contracts, to enforce its

lien on property stored in storage Units and to liquidate and/or to dispose of any property

stored in the Units.

cc:       Mary Fran Ebersole, Esquire
          Tydings & Rosenberg LLP
          100 East Pratt Street, 26th Floor
          Baltimore, MD 21202

          Joel I. Sher, Esquire
          Richard M. Goldberg, Esquire
          Shapiro Sher Guinot & Sandler
          36 South Charles Street, 20th Floor
          Baltimore, MD 21201

          Javier Faus Santasusana, Esquire
          Edificio “Blue Building” Av. Litoral Mar, 12-14, 1°
          08005, Barcelona, Spain

          Edward T. McDermott, Esquire
          Pollack & Kaminsky
          114 West 47th Street, 19th Floor
          New York, NY 10036




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         Paul M. Nussbaum, Esquire
         Stephen F. Fruin, Esquire
         Whiteford, Taylor & Preston
         7 Saint Paul Street
         Baltimore, MD 21202-1626

         Mark A. Neal, Esquire
         Office of the U.S. Trustee
         Garmatz Federal Courthouse
         101 West Lombard Street, Suite 2625
         Baltimore, Maryland 21201

         Benjamin Rosenberg, Esquire
         Rosenberg Martin Greenberg LLP
         2115 Allfirst Building
         25 South Charles Street
         Baltimore, MD 21201

         G. Ware Travelstead
         1709 Dey Cove Drive
         Virginia Beach, VA 23454

         Cameron MacDonald, Esquire
         Whiteford Taylor & Preston L.L.P.
         Seven Saint Paul Street, Suite 1400
         Baltimore, MD 21202

                                       End of Order




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